                  Case 1:16-cr-00184-DLH      Document 74-1         Filed 01/04/18        Page 1 of 1

JS 45 (Rev. 2/07 USAO)                          Criminal Case Cover Sheet — U.S. District Court

Place of Offense:                                     Related Case Information:
County: Pierce                                               ☒Information                ☐Indictment
                                                             ☐Superseding Inf.           ☐Superseding Indictment

                                                      Docket Number 1:16-cr-184

Recommended Division Western                                 ☒Same Defendant               ☐New Defendant

Explanation: See place of offense                            Magistrate Judge Case 1:16-mj-241
                                                             Search Warrant Case
                                                             R 20/R 40 from District

Defendant Information:
Defendant Name: William Anthony Fly
Alias Name:
Address:

Birthdate: 1968                Social Security Number:                               Sex: M        Alien
☐ Juvenile - Matter to be sealed
☐ Interpreter requested. Language and/or

U. S. Attorney Information:
USA/AUSA Matthew Greenley
Name of Agency Federal Bureau of Investigation

Location Status:
☐ Not Arrested.               Requesting:  ☐Summons                  ☐Warrant
☐ Arrested On
☐ Pretrial Release As                       by order
☒ Already in Federal Custody as of 7/15/16           in
☐ Already in State Custody in
☐ Detainer Filed on
☐ Fugitive

U.S.C. Citations
Total # of Counts: 1                                       ☐ Petty        ☐Misdemeanor            ☒Felony

                                    Description of Offense Charged/Statutory
    U.S. Code/Index Key                                                                            Counts
                                               Maximum Penalties
                               Transportation with Intent to Engage in Criminal Sexual
       18 USC § 2421(a)                                Activity                                      1
                                                (10 years/$250,000)
